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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 LAREDO DIVISION

                                            §
UNITED STATES OF AMERICA                    §
                                            §
vs.                                         §        Civ. No. 5:13-CV-51
                                            §        Crim. No. 5:11-CR-1070
TERRIL MONTEIZ DUCKETT                      §
                                            §
                                            §



                               MEMORANDUM OPINION

       Pending before the Court is Defendant’s §2255 motion, filed

March 22, 2013.          (Crim. Dkt. 169.)            Defendant’s trial attorney

filed    his   response       on   August       5,   2013   (Dkt.    176),    and    the

Government filed its response on December 31, 2013 (Dkt. 194).

The Court has reviewed the motion, Attorney Javier Montemayor’s

Verified Response (Crim. Dkt. 176), the Government’s Response

(Crim. Dkt. 194), the Pre-Sentence Report (“PSR”) (Crim. Dkt.

125), and other relevant documents in the record.                            The Court

concludes      that    this   §2255   motion         is   meritless    and    will   be

dismissed.

       Defendant pled guilty on December 28, 2011, in front of

Magistrate Judge J. Scott Hacker to conspiracy to possess with

intent to distribute 5 kilograms or more of cocaine.                            (Crim.

Dkt. 109).       No plea agreement was entered.                     On September 7,

2012, this Court sentenced Defendant to 240 months’ confinement.

(Crim. Dkt. 161.)         Defendant did not appeal.
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       The pending motion claims four grounds for relief:                                     (1)

that Defendant’s counsel was ineffective for failing to preserve

the right to an appeal by not filing a notice of direct appeal;

(2) that Defendant was merely a minor player in the offense, yet

received     more       time    than     any     of    his       co-defendants;        (3)   that

Defendant’s counsel was ineffective for failing to object to the

quantity        of     drugs       attributed         to     Defendant;       and     (4)    that

Defendant should be released because he was pulled into the

conspiracy due to entrapment.                   (Crim. Dkt. 169 at pp. 4-9.)

       Section        2255     provides        relief       for    a     defendant     who    can

demonstrate that:             “(1) his sentence was imposed in violation of

the    Constitution           or     laws   of        the       United    States,      (2)   the

sentencing           court     was     without        jurisdiction          to      impose   the

sentence,       (3)     the     sentence        was        in    excess    of    the    maximum

authorized by law, or (4) the sentence is otherwise subject to

collateral attack.”             United States v. Seyfert, 67 F.3d. 544, 546

(5th     Cir.        1995).          Section     2255        motions      “may      raise    only

constitutional errors and other injuries that could not have

been raised on direct appeal that will result in a miscarriage

of justice if left unaddressed.”                           United States v. Williamson,

183 F.3d 458, 462 (5th Cir. 1999).

       To prevail under an ineffective assistance of counsel claim

in a §2255 motion, a Defendant must satisfy a two-part test.

First,      Defendant          must      demonstrate              deficient      performance.

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Strickland v. Washington, 466 U.S. 668, 697 (1984).                         Deficient

performance           is    demonstrated       by    showing       that    “counsel’s

representation             fell     below      an    objective        standard       of

reasonableness.”              Id.     at     688.     Second,       Defendant       must

demonstrate       resulting         prejudice.       Id.   at   697.        Prejudice

requires that the Defendant “show that there is a reasonable

probability that, but for counsel’s unprofessional errors, the

result of the proceeding would have been different.”                            Id. at

694.

       First,     Defendant         claims    that   he    received       ineffective

assistance       of    counsel,     because    Attorney    Montemayor      failed     to

file a notice of appeal.               (Crim. Dkt. 169 at p. 4.)           A failure

to file a notice of appeal is “professionally unreasonable” when

Defendant requests that attorney file a notice of appeal.                            Roe

v. Flores-Ortega, 120 S.Ct. 1029, 1031 (2000).                       If a defendant

does not specifically express his wishes regarding an appeal,

the preliminary inquiry is “whether counsel in fact consulted

with the defendant about an appeal.”                   Id. at 1035.         For this

question, “consult” means to advise the defendant “about the

advantages and disadvantages of taking an appeal, and making a

reasonable effort to discover the defendant’s wishes.”                          Id. at

1040. If counsel has consulted with the defendant, then the

counsel     is    professionally           unreasonable    “only    by    failing    to



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follow the defendant’s express instructions with respect to an

appeal.”     Id. at 1031.

       With respect to the alleged failure to appeal, Attorney

Montemayor’s        Response         indicates         that    Defendant          had    every

opportunity        to    do    so.     Montemayor        avers       that   he     met    with

Defendant     after       sentencing       and    advised      him    of    his    appellate

rights.       (Crim.       Dkt.      176   at     p.   2.)      Defendant         stated    to

Montemayor that he understood an appeal would be frivolous.                                Id.

After this conversation, Attorney Montemayor advised Defendant

that he would defer presenting Defendant with a notice of non-

appeal in the event Defendant changed his mind about filing an

appeal.      Id.        According to Counsel, Defendant never thereafter

communicated with counsel about any desire to appeal.                             Id.

       Defendant’s            motion       does        not     controvert           Attorney

Montemayor’s version of these events.                        In particular, Defendant

does not claim that he instructed Counsel to file a notice of

appeal.      Neither does Defendant contend that Counsel failed to

consult him about the appeal.                    Defendant’s claim is limited to

asserting that Counsel was ineffective for failing to file an

appeal.      The uncontroverted evidence on record is that Counsel

made a reasonable attempt to discover Defendant’s wishes about

appeal, and that Defendant never requested Counsel to file a

notice of appeal.             Accordingly, the first ground is meritless.



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       Second,     Defendant        alleges       that      his      sentence      was

inappropriate       because        of    racial     bias    and      disparity      in

sentencing, asserting that he was a minor player but received

more time than other co-Defendants.                 (Crim. Dkt. 169 at p. 6.)

This     allegation     is      transparently       frivolous.            Defendant’s

sentence had nothing to do with his race and was not affected by

his role in the offense.            The simple fact is that the Defendant

pled guilty to an offense involving more than five kilograms of

cocaine.      That crime carried a minimum mandatory sentence of ten

years’       confinement.          If    the   Government         filed    a    formal

information that the Defendant had a prior narcotics conviction,

under    21    U.S.C.   §    51,   the    minimum   mandatory       sentence     would

increase to twenty years’ confinement.                If the Government filed

information of two such prior convictions, the mandatory minimum

would increase to life in prison.                 In fact, the Government did

file information of two prior narcotics convictions.                            (Crim.

Dkts. 78 & 83.)         Thus, when Defendant’s presentence report was

prepared, the Probation Office called for a sentence of life in

prison.       Fortunately for this Defendant, the Government on March

23, 2012 withdrew the enhancement filed at Docket Number 82.

(Crim. Dkt. 134.)           Therefore, Defendant was spared a sentence of

life    in    prison.       With   one    enhancement      instead    of    two,   the

Defendant’s minimum sentence became twenty years’ confinement

instead of life in prison.              That is precisely the sentence which

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Defendant received.            As stated above, that sentence had nothing

to do with his race or role in the offense.                      For that matter, it

had nothing to do with the sentencing guidelines.                              It was a

sentence demanded by a federal statute.                    This statute cannot be

affected by a §2255 motion.

       Third,     Defendant       asserts     that    he    received        ineffective

assistance       of   counsel     because     Attorney      Montemayor         failed    to

object to the quantity of drugs attributed to Defendant.                           (Crim.

Dkt. 169 at p. 8.)             During the Defendant’s re-arraignment, he

agreed “that he was involved in a conspiracy to possess with

intent to distribute in excess of 5 kilograms.”                         (Crim. Dkt. 189

at p. 22.) The PSR indicates the Government had substantial

evidence about the quantity of drugs involved.                          (Crim. Dkt. 125

at pp. 10-19.)          Therefore, objecting to the correct quantity of

drugs    would    have    been    frivolous.         As    the    Fifth    Circuit      has

stated,      failure      to     raise    a    frivolous         objection       is     not

ineffective       assistance      and    is   not    grounds      for     relief      under

§2255.      Clark v. Collins, 19 F.3d, 959, 966 (5th Cir. 1994).

Therefore, this third ground for §2255 relief is meritless.

       Finally,       Defendant    asserts    that    he    should       receive      §2255

relief,     because      the   government      entrapped         him,    and   that     his

involvement was limited to giving the undercover agent $5,000 to

pay the carrier to deliver them, not to buy drugs.                          (Crim. Dkt.

169 at p. 8.)          However, entrapment is a defense on the merits

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that is waived by a guilty plea.                United States v. Sarmiento,

786 F.2d 665, 668 (5th Cir. 1986).               A claim of entrapment must

be raised at trial.             It cannot be raised as a collateral attack

under §2255.       Moore v. United States, 334 F.2d 25, 27 (5th Cir.

1964).       Further, Defendant’s proposed distinction between paying

for    the    delivery     of    drugs   and   buying   drugs   is   irrelevant.

Defendant’s       fourth        ground   for   relief    is     therefore   also

meritless.

       For the foregoing reasons, Defendant’s §2255 motion will be

DISMISSED.

       DONE at Laredo, Texas, this 4th day of February, 2014.



                                   ___________________________________
                                   George P. Kazen
                                   Senior United States District Judge




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